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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                             May 19, 2020
                   IN THE UNITED STATES DISTRICT COURT                    David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



JANE DOE,                                §
                                         §
                   Plaintiff,            §

v.                                       §
                                         §       CIVIL ACTION NO. H-16-2133
HARRIS COUNTY, TEXAS;                    §
and TAYLOR ADAMS, Individually,          §
                                         §
                   Defendants.           §


                      MEMORANDUM OPINION AND ORDER


     Plaintiff, Jane Doe, brings this action against Harris County,

Texas, and Harris County employee, Taylor Adams ("Adams"), in his

individual     capacity,     for     damages   based   on   allegations        that

"[d]efendants (1) unconstitutionally deprived Plaintiff of (a) her

protected liberty interests and (b) right to counsel and (2) failed

or refused to provide her with even a scintilla of reasonable

medical care." 1     Pending before the court is Plaintiff's Opposed

Motion for Leave to File Her Fourth Amended Complaint ("Plaintiff's

Motion to     Amend")      (Docket   Entry No. 102).        For   the    reasons

explained below, Plaintiff's Motion to Amend will be denied.




     1
         Plaintiff's Third Amended Complaint,          Docket Entry No. 35,
p. 1.
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                          I. Standard of Review

      If a scheduling order has been entered establishing a deadline

for amendments to pleadings, Federal Rule of Civil Procedure 15(a)

provides the standard for requests to amend that are filed before

the scheduling order's deadline has expired, and Federal Rule of

Civil Procedure 16(b) provides the standard for requests to amend

that are filed after the scheduling order's deadline has expired.

Marathon Financial Insurance,      Inc., v. Ford Motor Co., 591 F.3d

458, 470 (5th Cir. 2009).

      Rule 15(a) states that "[t]he court should freely give leave

[to amend] when justice so requires."           Fed. R. Civ. P. 15(a)(2).

"A decision to grant leave is within the discretion of the court,

although if the court 'lacks a "substantial reason" to deny leave,

its discretion "is not broad enough to permit denial."'"            State of

Louisiana v. Litton Mortgage Co., 50 F.3d 1298, 1302-03 (5th Cir.

1995) (per curiam) (citations omitted).              Rule 15(a) provides "a

strong presumption in favor of granting leave to amend." Financial

Acquisition Partners LP v. Blackwell, 440 F.3d 278, 291 (5th Cir.

2006).   Nevertheless, "[d]enial of leave to amend may be warranted

for undue delay, bad faith or dilatory motive on the part of the

movant, repeated failure to cure deficiencies, undue prejudice to

the   opposing   party,    or   futility   of    a    proposed   amendment."

United States ex rel. Steury v. Cardinal Health,             Inc., 625 F.3d

262, 270 (5th Cir. 2010) (citing Foman v. Davis, 83 S.Ct. 227, 230

(1962)).

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      "Rule 16(b) provides that once a scheduling order has been

entered,     it   'may be modified only for good cause and with the

judge's consent.'"          Marathon, 591 F.3d at 470 (quoting Fed. R. Civ.

P. 16(b)(4)).      "The good cause standard requires the 'party seeking

relief to show that the deadlines cannot reasonably be met despite

the   diligence       of      the   party     needing    the    extension.'"     S&W

Enterprises, 1.1.C. v. SouthTrust Bank of Alabama, NA, 315 F.3d

533, 535 (5th Cir. 2003)(quoting 6A Charles Alan Wright, et al.,

Federal      Practice      and Procedure       § 1522.1 (2d ed. 1990)).           To

determine whether the moving party has established good cause,

courts consider four factors:               "(l) the explanation for the failure

to timely move for leave to amend;                     (2) the importance of the

amendment; (3) potential prejudice in allowing the amendment; and

(4) the availability of a continuance to cure such prejudice."

Marathon, 591 F.3d at 470 (quoting Southwestern Bell Telephone Co.

v. City of El Paso, 346 F.3d 541,                 546 (5th Cir. 2003)).         If a

movant establishes good cause to extend the scheduling order,

courts      analyze     the    motion   to     amend    under   Rule   15(a).    S&W

Enterprises, 315 F.3d at 535.               Because a scheduling order (i.e., a

Docket Control Order) was entered in this case on September 30,

2016 (Docket Entry No. 22), Rule 16(b)'s standard applies, and the

plaintiff must show good cause to amend.                 The Docket Control Order

entered on September 30,              2016,    required motions to amend the

pleadings to be filed by November 21, 2016.2

      2
          Agreed amended scheduling orders have since been entered, but
                                                         (continued...)

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            II. Plaintiff Fails to Show Good Cause to Amend

     The pending motion to amend was filed on January 29, 2020.

Plaintiff seeks leave to allege 22 paragraphs of "new and material

facts"    obtained in discovery detailing the chain of training

failures that led to plaintiff's housing assignment in the Harris

County jail, 3 and a new claim (Count 13)       that "Harris County's

failure to properly train Detention Officer Ruth Arteaga caused the

Plaintiff to be misclassified as a         'maximum custody' criminal

defendant or criminal,      which subsequently led to a failure to

protect and a failure to properly treat." 4

     Harris County argues that plaintiff cannot show good cause to

amend because she has no reasonable explanation for her delay in

seeking to amend, because the court has already dismissed her claim

that Harris County failed to train its employees concerning her

classification and confinement, and because an amendment at this

stage of the case would result in prejudice to defendants that

cannot be cured by continuance. 5


     2( •••continued)
none have allowed amended pleadings. See Scheduling/Docket Control
Order (Docket Entry No. 64) entered on October 10, 2017; Agreed
Amended Docket Control Order (as revised by the Court) (Docket
Entry No. 75) entered on August 6, 2018; Order on Agreed Motion to
Extend Deadlines (Docket Entry No. 99) entered on September 17,
2019; and Order on Agreed Motion to Extend Deadlines (Docket Entry
No. 101) entered on November 18, 2019.
     3
         Plaintiff's Motion to Amend, Docket Entry No. 102, pp. 1-6.
     4
         Plaintiff's Fourth Amended Complaint, Docket Entry No. 102-1,
p. 83.
     5
         Harris County's Opposition to Plaintiff's Motion for Leave to
                                                        (continued ...)

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A.   Plaintiff Has a Reasonable Explanation for Delay

     Asserting that "[o]n or about June 5th,                 2019, Counsel for

Plaintiff received document production Bates labeled "HC-16829 -

18744, " 6 that "[s]ubsequently (on or about November 3rd, 2019), co­

counsel for Plaintiff,           Maisie Barringer,       discovered within that

production     an     Internal    Affairs     Division    report   generated   by

Defendant Harris County," 7 and that "[d]ocument, Bates labeled page

HC-016996,     reveals    that     Harris   County   Detention     Officer   Ruth

Arteaga misclassified Plaintiff in the Harris County Jail as a

result of Harris County's failure to train Officer Arteaga, " 8

plaintiff argues that she requests leave to amend because "she was
incapable of discovering, interpreting, and moving forward with the

newly acquired evidence in a more expedient manner,                  through no

fault of her own." 9       Plaintiff argues that

     the above described discovery by Plaintiff's legal team
     required [a] time-consuming effort to decode one of the
     other documents included in Defendant Harris County's
     latest production, Bates numbered page HC-017025 (a
     screenshot of the Justice Information Management System
      (JIMS) Booking inquiry    - LBKl screen pertaining to
     Plaintiff).   Upon receiving that document, counsel for


     5 ( ••• continued)

File Her Fourth Amended Complaint ("Harris County's Opposition"),
Docket Entry No. 104.
     6
         Plaintiff's Motion to Amend, Docket Entry No. 102, p. 9 � II.
     7
         Id. � III.


     9
         Id. at 11.

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    Plaintiff was required to access instructional materials
    created by Harris County Technology Services to interpret
    the coding system displayed on HC-017025.

         Upon completing review of Harris County's 18,700-
    plus pages of discovery production in November 2019,
    Plaintiff's legal team began discussing the implications
    of the aforementioned newly-discovered evidence and
    whether amendments to the Complaint were warranted. At
    that time, undersigned lead counsel for Plaintiff, Sean
    Buckley, was in the midst of a 2-month-long federal jury
    trial in the Northern District of Texas - and was unable
    to turn his attention to analyzing the import of said
    newly discovered evidence, and deciding whether a Fourth
    Amended Complaint should be filed. Undersigned counsel
    Buckley's federal trial concluded just before the
    Christmas holiday on December 17, 2019.         In early
    January, all counsel for Plaintiff resumed discussions
    about the newly-discovered evidence and its implications,
    and undersigned lead counsel Buckley decided that leave
    to file a Fourth Amended Complaint should be requested.
    Since early January, Plaintiff's counsel have been
    working diligently to research and prepare this Motion
    and Plaintiff's Fourth Amended Complaint. 10

     Asserting that "Plaintiff admits waiting six months from the

time she received this production until she moved to amend her

complaint," 11 and that the claim she seeks to add "is not a 'new'

claim - it is the same misclassification claim that the Court

dismissed on      September 29,   2017," 12   Harris County argues that

"Plaintiff cannot show good cause to amend because she has no

reasonable explanation for her delay in seeking to amend." 13



     10
          rd. at 10.

     11   Harris County's Opposition, Docket Entry No. 104, p. 5.




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     Based on the verification signed by plaintiff's attorney

(Docket Entry No. 103), the court concludes that despite acting

diligently to acquire her records from Harris County, plaintiff did

not acquire those records until June of 2019, and the facts that

plaintiff seeks leave to assert could not have been asserted by the

November 21, 2016, deadline for filing motions to amend established

by the court's September 30, 2016, scheduling order.      Harris County

has neither argued nor cited any evidence from which the court

could conclude that the plaintiff was aware of the facts on which

her proposed amendments are based before the deadline for amending

pleadings expired, or that had plaintiff acted diligently she could

have acquired those facts from another source in time to meet the

deadline for amending pleadings.     The court is therefore persuaded

that plaintiff has offered a reasonable explanation for delay in

seeking leave to amend, and that this factor weighs in favor of

granting her motion.      See Southwestern Bell,     34 6 F. 3d at 54 7

(denying leave to amend upon finding that "[movant) was aware of

the contract that forms the basis of its proposed amendment months

in advance of the deadline and does not offer a satisfactory

explanation for its delay in seeking leave to amend")


B.   The Proposed Amendments Are Not Important

     Plaintiff argues that her

     proposed amendments are of immense significance and [she)
     will be unjustly prejudiced if she is not allowed to
     plead the newly available facts.       First, the facts

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     underlying the proposed amendments expose one of the
     reasons Defendant Harris County, Texas failed to treat
     and protect Plaintiff.

          Further, Plaintiff's newly discovered facts support
     a separate cause of action that Defendant Harris County
     violated Plaintiff's constitutional rights by failing to
     properly train its detention staff.      This failure to
     train subsequently led to a failure to properly treat and
     protect Plaintiff. As a result of Detention Officer Ruth
     Arteaga's untrained inability to understand the coding
     system utilized in the Justice Information Management
     System, Officer Arteaga misclassified Plaintiff, which
     resulted in Plaintiff being denied constitutionally­
     required treatment and protection in conformity with
     Harris County's established policies and procedures. 14

     Citing Maryland Manor Associates v. City of Houston,               816

F. Supp. 2d 394,       401   (S.D. Tex. 2011),   defendants argue that

Plaintiff's Motion to Amend should be denied because "the Court has

already dismissed her claim that Harris County failed to train its

employees      'concerning   the   classification   and   confinement    of

Plaintiff.'" 15   Harris County explains that

     Plaintiff's proposed amendment is not important because
     it simply repackages Count 8 of her Third Amended
     Complaint,   which alleged that Harris County had
     constitutionally inadequate "training concerning the
     classification and confinement" of inmates who were being
     held as witnesses or transferred into custody from
     medical or mental health facilities. In Paragraphs 211-
     219, Plaintiff suggested various reasons why Harris
     County employees were inadequately trained to classify
     her.

          On September 29, 2017, this Court dismissed Count 8
     and held:



     14
          Plaintiff's Motion to Amend, Docket Entry No. 102, p. 11.
     15
          Harris County's Opposition, Docket Entry No. 104, p. 6.

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            In Count 8 plaintiff alleges that Harris
            County had a constitutionally inadequate
            policy,   practice,   custom,   or   training
            concerning the classification and confinement
            of victim/witness detainees or detainees who
            were transferred into its custody from
            medical/mental health facilities.

            The   Fifth   Circuit   has   held   that  the
            classification of inmates is an administrative
            function of the jail.    Jones v. Diamond, 62 6
            F.2d 1364, 1376 (5th Cir. 1981) (en bane).
            Inmates therefore have no protectable property
            or    liberty     interest     in    custodial
            classification,    and    plaintiff   has   no
            constitutional right to a particular status or
            classification within the jail.

            Accordingly, plaintiff's claim concerning the
            classification and confinement of victim/
            witness detainees or detainees who were
            transferred into its custody from medical/
            mental health facilities asserted in Count 8
            will be dismissed.16

     In Maryland Manor a developer sued the City of Houston for

denying a permit.     The City filed two motions to dismiss.     As the

court was considering the City's motions, plaintiff filed a motion

to amend.     Judge Rosenthal held:

     [T]he third amended complaint is almost identical to the
     second amended complaint. The minor differences between
     the third amended complaint and the second amended
     complaint would not change the court's resolution of the
     City's motions to dismiss. Maryland Manor's motion for
     leave to amend is denied both because it is untimely and
     because amendment would be futile.

Id. at 401.




     16
       Id. at 7 (quoting Memorandum Opinion and Order, Docket Entry
No. 62, pp. 69-71).

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     Plaintiff argues that her "proposed amendments are of immense

significance and [she] will be unjustly prejudiced if she is not

allowed to plead the newly available facts." 17           But the new facts

that plaintiff seeks leave to add do not allege new conduct and the

new cause of action that plaintiff seeks leave to add does not

allege a new theory of recovery.               Instead, plaintiff's proposed

amendments simply seek to identify the individual Harris County

employee whose allegedly inadequate training caused her to be

"misclassified     as   a    'maximum    custody'    criminal   defendant   or

criminal,     which subsequently led to a failure to protect and

failure to treat." 18       The claim that plaintiff seeks to add, i.e.,

Count 13 for "Harris County's failure to properly train Detention

Officer Ruth Arteaga" is not materially different from the claim

alleged in Count 8 of Plaintiff's Third Amended Complaint that

     Harris County had a constitutionally inadequate policy,
     procedure, practice, custom, or training concerning the
     classification and confinement of those unfortunate
     People[] who are either (1) victim/witness detainees or
     (2) transferred into its custody from medical/mental
     health facilities. 19

     Because the only new cause of action that plaintiff seeks

leave to assert in her proposed Fourth Amended Complaint is not



     17
          Plaintiff's Motion to Amend, Docket Entry No. 102, p. 11.
     18
          Plaintiff's Fourth Amended Complaint, Docket Entry No. 102-1,
p. 83.

      Plaintiff's Third Amended Complaint,
     19
                                                       Docket Entry No. 35,
p. 63 (emphasis added).

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materially different from the cause of action for misclassification

alleged in her Third Amended Complaint for which the court granted

Harris County's motion to dismiss and, instead, merely provides

additional facts that can be        used to   support   claims already

alleged, the court concludes that plaintiff has failed to show that

the proposed amendments are important, or that their addition would

not be futile.    The importance factor, therefore, weighs against

granting Plaintiff's Motion to Amend.



C.   The Potential Prejudice to the Defendants Cannot Be Cured By
     a Continuance

     Plaintiff argues that defendants will not be substantially

prejudiced if her motion to amend is granted because

     Defendant Harris County produced the aforementioned new
     evidence on or about June 5th, 2019.     Defendant Harris
     County knew it would take substantial time for
     Plaintiff's counsel to review and digest that production,
     and naturally, Harris County must have known the
     significance of what was contained within the production
     because it came from them - and much of it flowed from an
     Internal Affairs investigation.    This is certainly not
     the kind of situation where Defendant Harris County would
     be surprised by the substance of the newly discovered
     information and therefore prejudiced in its ability to
     defend itself.

          If Plaintiff is allowed to amend at this time,
     Defendant Harris County will likely file another
     dispositive 12(b) (6) Motion to Dismiss.      Plaintiff
     recognizes that this will draw on resources of the
     parties in addition to scarce judicial resources. This
     issue and its attendant prejudices are minimized,
     however, because the amendments sought will narrowly
     (1) further elucidate two counts of Plaintiff's live
     Complaint that have already survived Rule 12(b) (6)


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     scrutiny, and (2) allege a singular additional cause of
     action (Failure to Train) . 20

     Harris County responds that granting Plaintiff's Motion to

Amend at this stage of the case would result in prejudice to the

defendants that cannot be cured by continuance. 21

     Plaintiff acknowledges that if she is allowed to file a Fourth

Amended Complaint,     Harris County will likely file another Rule

12(b) (6) motion to dismiss that would not only demand additional

resources from the parties,       but from the court.    Nevertheless,

plaintiff argues that in the event the court finds any party is

unfairly prejudiced by her request to amend,        "a continuance is

available to remedy same and Plaintiff would not object to it." 22

Plaintiff's argument all but concedes that granting her motion to

amend will prejudice defendants and needlessly consume scarce

judicial resources by requiring not just new pleadings, but also a

whole new round of motions to dismiss.

     This action has been pending for almost four years.             The

deadline for filing amended pleadings was November 21,           2016. 23


     20
          Plaintiff's Motion to Amend, Docket Entry No. 102, pp. 11-12.
     21
          Harris County's Opposition, Docket Entry No. 104, p. 8.
     22
          Plaintiff's Motion to Amend, Docket Entry No. 102, p. 12.e.

      Agreed amended scheduling orders have since been entered, but
     23

none have allowed amended pleadings. See Scheduling/Docket Control
Order (Docket Entry No. 64) entered on October 10, 2017; Agreed
Amended Docket Control Order (as revised by the Court) (Docket
Entry No. 75) entered on August 6, 2018; Order on Agreed Motion to
                                                    (continued... )

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Plaintiff has filed an original and three amended complaints, and

defendants have filed two motions to dismiss,                  which the court

resolved almost three years ago.           Moreover, pursuant to the most

recent Order on Agreed Motion to Extend Deadlines (Docket Entry

No. 101), entered on November 18, 2019, the discovery period ended

on March 26,         2020,   the period for filing dispositive motions

expired on April 26, 2020, the period for filing non-dispositive

motions expired on May 1, 2020, the Joint Pre-Trial Order is due on

September 4, 2020, and Docket Call is set for September 11, 2020.

Despite plaintiff's reasonable explanation for the cause of her

delay in asserting the proposed new facts and cause of action that

she seeks to add to her complaint, the court is not persuaded that

the time for filing pleadings and motions to dismiss should be

reopened       to   accommodate   her   request.     Allowing     the   proposed

amendment would not only require the court to abandon established

deadlines - to which the plaintiff agreed - for filing dispositive

motions, for completing discovery, for filing the Joint Pretrial

Order, and for conducting docket call - which the court will not

extend given the age of this case, but would also delay the trial

and thereby         prejudice the   defendants     and   the   court.     Since,

moreover, the cause of action that plaintiff seeks leave to add,

i.e.,        Count 13   for Harris County's failure to properly train


       ( ••• continued)
        23

Extend Deadlines (Docket Entry No. 99) entered on September 17,
2019; and Order on Agreed Motion to Extend Deadlines (Docket Entry
No. 101) entered on November 18, 2019.
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Detention Officer Ruth Arteaga is not materially different from the

claim alleged in Count 8 of Plaintiff's Third Amended Complaint,

which the court has already dismissed for failure to state a claim,

the proposed amendment would likely be futile.                The court thus

concludes   that    the   potential    prejudice   to   the       defendants   in

allowing    the    amendment   cannot    be   cured     by    a    continuance.

Accordingly, the third and fourth factors regarding prejudice weigh

against granting Plaintiff's Motion to Amend.



D.   Conclusions

     Although the court is persuaded that plaintiff has presented

a reasonable explanation for delay in seeking leave to file a

Fourth Amended Complaint to add newly discovered facts and a new

cause of action for failure to train,          the court concludes that

plaintiff has failed to establish good cause as required by Rule

16(b) (4) to amend her pleadings after the deadline for doing so

established by the court's scheduling order has expired because she

has failed to establish that the proposed amendments are important,

that the defendants will not be prejudiced,             that a continuance

would cure the prejudice to defendants,            or that the proposed

amendments would not be futile.         See Fed. R. Civ. P. 16(b) (4) ("A

schedule may be modified only for good cause and with the judge's

consent.").

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                      III.   Conclusions and Order

     For the reasons stated in § II, above,       Plaintiff's Opposed

Motion for Leave to File Her Fourth Amended Complaint (Docket Entry

No. 102) is DENIED.

     SIGNED at Houston, Texas, this 19th day of




                                                       LAKE
                                         UNITED STATES DISTRICT JUDGE




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